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  Attorneys for Defendants Kevin G. Long


                        IN THE UNITED STATES DISTRICT COURT

                   FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

   KATE GRANT and KARMANN KASTEN,
   LLC,                                            NOTICE OF ENTRY OF APPEARANCE
                                                   OF COUNSEL FOR C. CHASE WILDE
                 Plaintiffs,
   vs.
                                                     Case No: 2:23-cv-00936-AMA-CMR
   KEVIN G. LONG; MILLCREEK
   COMMERCIAL PROPERTIES, LLC;                             Judge Ann Marie McIff Allen
   COLLIERS INTERNATIONAL; BRENT
   SMITH; SPENCER TAYLOR; BLAKE                        Magistrate Judge Cecilia M. Romero
   MCDOUGAL; and MARY STREET,

                 Defendants.


         NOTICE IS HEREBY GIVEN to all parties that Christian Chase Wilde of the law firm

  of PARR BROWN GEE & LOVELESS hereby makes his appearance as counsel of record for Defendant

  Kevin G. Long in the above-captioned case. Please add Mr. Wilde to the service list and provide
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  him notice of all hearings, motions, pleadings, actions, and other matters maintained hereafter in

  the above-entitled lawsuit at the following address:

           Christian Chase Wilde
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           Dated this 4 March 2025.

                                               PARR BROWN GEE & LOVELESS

                                               By: /s/ C. Chase Wilde
                                                      C. Chase Wilde

                                               Attorneys for Defendant Kevin G. Long




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                                   CERTIFICATE OF SERVICE

           I hereby certify that on this 4 March 2025, a true and correct copy of the foregoing

  NOTICE OF ENTRY OF APPEARANCE OF COUNSEL FOR C. CHASE WILDE was

  served via electronic service on all counsel of record.




                                                                      /s/ C. Chase Wilde




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